UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                     7/1/2021


  United States of America,

                 –v–
                                                                     20-cr-330 (AJN)
  Ghislaine Maxwell,
                                                                         ORDER
                        Defendant.




ALISON J. NATHAN, District Judge:

       No party has proposed redactions to the Court’s opinion on Maxwell’s motions to

suppress evidence or the documents ordered unsealed in the Court’s June 25, 2021 Order (Dkt.

No. 303). Thus, the Court lifts the temporary seal on its June 25, 2021 opinion on Maxwell’s

motions to suppress. It also unseals the April 9, 2019 memorandum decision and order on the

Government’s application to modify the protective order in Giuffre v. Maxwell, No. 15-cv-7433,

as well as the transcripts of the March 26, 2019 and April 9, 2019 ex parte hearings on that

application, originally filed under seal as Exhibits D, E, F, and G to the memorandum of law in

support of Maxwell’s first motion to suppress (Dkt. No. 134). Maxwell shall file those exhibits

on the public docket without redaction by July 2, 2021.



       SO ORDERED.


 Dated: July 1, 2021
        New York, New York
                                                 ____________________________________
                                                           ALISON J. NATHAN
                                                         United States District Judge
